Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 1 of 11 PAGEID #: 1



                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


  KANDACE WHITE                                     CASE NUMBER: 2:19-cv-1722
  2844 Alderwood Drive
  Columbus, Ohio 43219                              JUDGE:

        Plaintiff,

  v.

  Wells Fargo Bank, National Association
  c/o Corporation Service Company
  50 West Broad Street, Suite 1330
  Columbus, OH 43215

        Defendant.


                         COMPLAINT FOR MONEY DAMAGES
                           LOSS MITIGATION FAILURES

                          JURY DEMAND ENDORSED HEREIN

          The following allegations are based upon Plaintiff’s personal knowledge, the

 investigation of counsel, and information and belief. Plaintiff, through counsel, alleges as

 follows:

 I. INTRODUCTION

 1. For years Plaintiff Kandace White (“Mrs. White”) and her family lived with and

       cared for her ailing mother. Following her mother’s death in 2017, Mrs. White

       inherited the family home. She began making mortgage payments to Defendant

       Wells Fargo Bank, N.A. (“Wells Fargo”). When her family went through financial

       difficulties, she asked Wells Fargo for help. She provided Wells Fargo everything

       required to confirm her as a successor in interest in the home. Mrs. White called, sent



                                                1
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 2 of 11 PAGEID #: 2



    money, and begged for Wells Fargo to take action. Unfortunately, Wells Fargo

    ignored her pleas. Ironically, Wells Fargo did eventually determine Mrs. White’s

    interest in the home. However, it did so only when it served its own interest – so it

    could name her as a party to a foreclosure lawsuit as opposed to trying to keep her in

    the home as required under the law.

 II. PRELIMINARY STATEMENT

 2. Mrs. White institutes this action for actual damages, statutory damages, attorney fees,

    and the costs of this action against Wells Fargo for violations of the Real Estate

    Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2601, et seq. and Regulation X,

    12 C.F.R. § 1024 et seq.

 III. JURISDICTION

 3. This Court has subject matter jurisdiction over Count One under RESPA, 12 U.S.C. §

    2614, and 28 U.S.C. §§ 1331 and 1337.

 4. The Court has personal jurisdiction over Wells Fargo because Wells Fargo transacts

    business within this District, the loan at issue was incurred within this District, and

    the property which was the subject of the loan at issue is located within this District.

    International Shoe v. Washington, 326 U.S. 310 (1945).

 5. Venue is proper in accordance with 28 U.S.C. § 1391(b)(2), because a substantial part

    of the events or omissions giving rise to the claims occurred in this judicial district

    and the property is located in this judicial district.

 IV. PARTIES

 6. Mrs. White is a natural person currently residing within this Court’s jurisdiction at

    2844 Alderwood Drive, Columbus, Ohio 43219.



                                                2
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 3 of 11 PAGEID #: 3



 7. At all relevant times, Mrs. White was and is a “person” within the meaning of

    RESPA at 12 U.S.C. § 2602(5).

 8. At all relevant times, Mrs. White was and is a “borrower” within the meaning of

    RESPA.

 9. At all relevant times, Mrs. White was and is a “confirmed successor in interest”

    within the meaning of RESPA.

 10. Wells Fargo is a company organized under the laws of the United States of America

    with its principal place of business in California.

 11. At all relevant times, Wells Fargo was and is a “person” within the meaning of

    RESPA, 12 U.S.C. § 2602(5).

 12. At all relevant times, Wells Fargo was and is a loan “servicer” of a “federally related

    mortgage loan” within the meaning of those terms in RESPA respectfully at 12

    U.S.C. §§ 2605(i)(2) and 2602(1).

 13. At all relevant times, Wells Fargo was engaged in “servicing” within the meaning of

    RESPA, 12 U.S.C. § 2605(i)(3).

 V. FACTUAL ALLEGATIONS

 14. Mrs. White incorporates all other paragraphs in this Complaint by reference as though

    fully written here.

 15. Each action or inaction alleged herein against Wells Fargo is also an allegation of

    action or inaction by Wells Fargo’s agents, predecessors, successors, employees,

    contractors, assignees, assignors, and servicers, as appropriate.

 16. Mrs. White is married and the mother of two children.




                                              3
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 4 of 11 PAGEID #: 4



 17. Mrs. White currently lives with her family at 2844 Alderwood Drive, Columbus,

     Ohio 43219 (the “Home.”)

 18. In or around 2008, Mrs. White’s mother suffered a heart attack.

 19. In or around 2008, Mrs. White moved into the Home to care for her mother.

 20. Mrs. White has raised her children in the Home.

 21. On or about May 9, 2013, Mrs. White’s mother Joycanne Robinson refinanced the

     Home with a note secured by a mortgage (collectively the “Mortgage Loan”).

 22. On or about August 29, 2017, Mrs. White’s mother passed away.

 23. Following the death of her mother, Mrs. White began making payments on the

     Mortgage Loan.

 24. In early 2018, Mrs. White hired an attorney to handle the probate of her mother’s

     estate.

 25. On or about March 27, 2018, Mrs. White, through counsel, opened an estate for

     Joycanne Robinson in Franklin County Probate Court Case No. 590571.

 26. The probate court documents show it was a full administration without a will.

 27. On or about August 1, 2018, the probate court issued a certificate of transfer.

 28. The certificate of transfer is a public record.

 29. The certificate of transfer shows Joycanne Robinson died intestate.

 30. The certificate of transfer shows that the Home passed by devise, decent or election to

     Mrs. White and her sister Syreeta Robinson.

 31. In or around March 2018, Mrs. White lost her job.

 32. Despite losing her job, Mrs. White attempted to continue to make payments on the

     Mortgage Loan.



                                                4
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 5 of 11 PAGEID #: 5



 33. In or around late September 2018, Mrs. White called Wells Fargo.

 34. During the call, Wells Fargo told Mrs. White it could not talk to her in detail about

    the Mortgage Loan because the account was in her mother’s name.

 35. During the call, Wells Fargo instructed Mrs. White to submit a monthly payment.

 36. In or around late September 2018, Mrs. White submitted a payment to Wells Fargo.

 37. On or about October 4, 2018, Mrs. White called Wells Fargo.

 38. During the call, Mrs. White provided Wells Fargo with information to be considered

    for loss mitigation options.

 39. During the call, Mrs. White told Wells Fargo about her financial hardship and that she

    wanted to keep the property.

 40. During the call, Mrs. White told Wells Fargo that her mother passed away and that

    Mrs. White had been making payment on the Mortgage Loan.

 41. During the call, Mrs. White told Wells Fargo that she had an interest in the Home.

 42. During the call, Wells Fargo instructed Mrs. White to send a death certificate for

    Joycanne Robinson.

 43. During the call, Mrs. White told Wells Fargo that there was an probate case for

    Joycanne Robinson.

 44. During the call, Wells Fargo asked for the contact information of the attorney

    handling Joycanne Robinson’s probate case.

 45. During the call, Mrs. White provided the name and contact information for the

    attorney handling the probate case.

 46. During the call, Wells Fargo told Mrs. White it would process the information once it

    received the death certificate.



                                              5
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 6 of 11 PAGEID #: 6



 47. On or about October 4, 2018, Mrs. White sent Wells Fargo the death certificate.

 48. On or about October 4, 2018, Wells Fargo received the death certificate.

 49. On or about October 4, 2018, Well Fargo had actual knowledge of Joycanne

    Robinson’s death.

 50. On or about October 4, 2018, Wells Fargo had access to all the information to

    confirm Mrs. White’s identity and ownership interest in the property.

 51. Following the October 4, 2018 call, Wells Fargo failed to promptly facilitate

    communication with Mrs. White to request any additional documents.

 52. Mrs. White was a confirmed successor in interest as defined in RESPA.

 53. On or about October 26, 2018, Wells Fargo sent a letter addressed to Joycanne

    Robinson.

 54. In Wells Fargo’s October 26, 2018 letter it returned Mrs. White’s September

    payment, but made the check payable to Joycanne Robinson.

 55. At the time, Wells Fargo had actual knowledge that Joycanne Robinson was

    deceased.

 56. After Mrs. White received the returned payment she called Wells Fargo.

 57. During the call Wells Fargo instructed Mrs. White to send the check back with the

    difference to cover a full monthly payment.

 58. During the call, Mrs. White again asked about options for mortgage assistance (the

    “Application”).

 59. During the call, Wells Fargo confirmed that it received the death certificate in early

    October.




                                              6
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 7 of 11 PAGEID #: 7



 60. During the call, Wells Fargo did not request Mrs. White send any additional

    documents.

 61. Following the call, Mrs. White sent in payment to Wells Fargo.

 62. Following the call, Wells Fargo did not send Mrs. White a letter acknowledging her

    request for mortgage assistance.

 63. Following the call, Wells Fargo did not send Mrs. White notice instructing her what

    she needed to submit to have her request be a complete application for loss

    mitigation.

 64. On or about November 19, 2018, Wells Fargo sent a letter addressed to Joycanne

    Robinson.

 65. In Wells Fargo’s October 26, 2018 letter it returned Mrs. White’s October payment,

    but made the check payable to Joycanne Robinson.

 66. At the time, Wells Fargo had actual knowledge that Joycanne Robinson was

    deceased.

 67. Mrs. White has been unable to cash the checks Wells Fargo sent to her payable to her

    deceased mother.

 68. On or about December 3, 2018, Wells Fargo filed a foreclosure in Franklin County

    Court of Common Pleas Case No. 18 CV 100023 (the “Foreclosure”).

 69. In the Foreclosure Complaint, Wells Fargo specifically named Kandace White as heir

    to Joycanne Robinson as a party to the suit.

 70. Wells Fargo was prohibited from going forward with the Foreclosure while Mrs.

    White’s Application was pending.




                                             7
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 8 of 11 PAGEID #: 8



 71. Wells Fargo knew, or reasonably should have known, Mrs. White’s interest in the

    property when it filed the Foreclosure.

 72. On or about December 3, 2018, Wells Fargo sent a letter to Mrs. White

    acknowledging it received the notice of death of Joycanne Robinson.

 73. As a result of Wells Fargo’s actions, Mrs. White suffered actual damages, including

    but not limited, to legal fees associated with defending the Foreclosure, increased

    arrearages on loan, capitalized costs, loss of equity and, increased interest on

    principal.

 74. As a result of Wells Fargo’s actions, Mrs. White suffers severe emotional distress,

    including anxiety, stress, sleepless nights, and strain on her marriage and relationships

    with her family.

 75. As a result of Wells Fargo’s actions, Mrs. White incurred the legal fees and expenses

    of brining this lawsuit.

 VI. FIRST COUNT – RESPA Loss Mitigation

 76. Mrs. White incorporates all other paragraphs in this Complaint by reference as though

    fully written here.

 77. Wells Fargo’s actions described in this Complaint constitute violations of RESPA, 12

    U.S.C. § 1601, et seq., and Regulation X, and 12 C.F.R. § 1024.41.

 78. Following Mrs. White’s phone call to Wells Fargo in or around late October 2018, the

    Application was complete pursuant to 12 C.F.R. § 1024.41.

 79. Following Mrs. White’s phone call to Wells Fargo in or around late October 2018, the

    Application was facially complete pursuant to 12 C.F.R. § 1024.41(c)(2)(iv).




                                              8
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 9 of 11 PAGEID #: 9



 80. By failing to exercise reasonable diligence in obtaining documents and information to

    allegedly complete the application, Wells Fargo violated Regulation X, 12 C.F.R. §

    1024.41(b)(1).

 81. By failing to provide Mrs. White with the correct notices regarding the Application,

    Wells Fargo violated Regulation X, 12 C.F.R. § 1024.41(b)(2)(i)(B).

 82. By failing to provide Mrs. White with notice that the Application was complete,

    Wells Fargo violated Regulation X, 12 C.F.R. § 1024.41(b)(2)(i)(B).

 83. By failing to identify what additional documents Mrs. White needed to submit to

    make the Application complete, Wells Fargo violated Regulation X, 12 C.F.R. §

    1024.41(b)(2)(i)(B).

 84. By failing to promptly, upon receipt, evaluate the Application to determine if it was

    complete, Wells Fargo violated Regulation X, 12 C.F.R. § 1024.41(b)(2)(i)(A).

 85. By failing to evaluate Mrs. White for all loss mitigation options available in response

    to the Application, Wells Fargo violated Regulation X, 12 C.F.R. § 1024.41(c)(1)(i).

 86. By failing to send Mrs. White notice within thirty days after receiving the Application

    informing Mrs. White of all loss mitigation options, Wells Fargo violated Regulation

    X, 12 C.F.R. § 1024.41(c)(1)(ii).

 87. By filing the Foreclosure, Wells Fargo violated Regulation X, 12 C.F.R. §

    1024.41(f)(2).

 88. By moving for default judgment in the Foreclosure, Defendant violated Regulation X,

    12 C.F.R. § 1024.41(g).

 89. Wells Fargo regularly fails to evaluate and process its borrowers’ loss mitigation

    applications in compliance with RESPA and Regulation X.



                                              9
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 10 of 11 PAGEID #: 10



  90. Wells Fargo regularly fails to administer foreclosure lawsuits it brings against

     borrowers in compliance with RESPA and Regulation X.

  91. Wells Fargo has engaged in a pattern or practice of non-compliance with the

     requirements of RESPA and Regulation X.

  92. As a result of Wells Fargo’s actions, Mrs. White suffered actual damages, including

     but not limited, to legal fees associated with defending the Foreclosure, increased

     arrearages on loan, capitalized costs, loss of equity and, increased interest on

     principal.

  93. As a result of Wells Fargo’s actions, Mrs. White suffers severe emotional distress,

     including anxiety, stress, sleepless nights, and strain on her marriage and relationships

     with her family.

  94. Due to these violations, Wells Fargo is liable to Mrs. White for actual damages to be

     determine at trial, additional damages in the amount of at least $2,000, plus attorney

     fees, and costs of the action, including pursuant to 12 U.S.C. § 2605(f).

  VIII. PRAYER FOR RELIEF

  WHEREFORE, Mrs. White respectfully prays that this Court:

  95. Assume jurisdiction of this case;

  96. Award Mrs. White the maximum damages on the Counts, including the maximum

     statutory damages available, the maximum economic and non-economic damages

     available, including actual, emotion, general, punitive, and other damages;

  97. Award Mrs. White actual damages to be established at trial including pursuant to 12

     U.S.C. § 2605(f);




                                               10
Case: 2:19-cv-01722-JLG-EPD Doc #: 1 Filed: 05/01/19 Page: 11 of 11 PAGEID #: 11



  98. Award Mrs. White statutory damages in the amount of at least $2,000, plus attorney

     fees, and costs of the action, including pursuant to 12 U.S.C. § 2605(f);

  99. Award Mrs. White additional damages and costs;

  100.    Award such other relief as the court deems appropriate.


  Dated this 1st day of May, 2019:


                                                  Respectfully Submitted,
                                                  DOUCET & ASSOCIATES CO., L.P.A.


                                                  /s/ Andrew J. Gerling________________
                                                  Andrew J. Gerling (0087605)
                                                  Attorney for Plaintiff Kandace White
                                                  700 Stonehenge Parkway, Suite 2B
                                                  Dublin, OH 43017
                                                  PH: 614-944-5219
                                                  FAX: 818-638-5548
                                                  andrew@doucet.law




                                  JURY TRIAL DEMANDED

         Mrs. White respectfully request a jury trial on all triable issues.


                                                  Respectfully Submitted,
                                                  DOUCET & ASSOCIATES CO., L.P.A.


                                                  /s/ Andrew J. Gerling________________
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                                                 11
